514 F.2d 894
    12 Fair Empl.Prac.Cas.  1223,9 Empl. Prac. Dec. P 10,121, 169 U.S.App.D.C. 58
    Kurylasv.U. S. Department of Agriculture
    74-1435
    UNITED STATES COURT OF APPEALS District of Columbia Circuit
    5/7/75
    D.C.D.C., 373 F.Supp. 1072
    
      1
      AFFIRMED*
    
    
      
        *
         The judgment or order is accompanied by a Memorandum explanatory of the judgment.  Such memorandum is not included with the opinions of the Court that are printed, and it may not be cited in briefs or memoranda of counsel as precedents, under local rule
      
    
    